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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

CANEZ TOUT-PUISSANT,
Petitioner,

Vv. CIVIL ACTION

NO. 20-10050-WGY
STEPHEN KENNEDY,
Superintendent of Old Colony

Correctional Facility,

Respondent.

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YOUNG, D.J. September 76, 2020
ORDER

On February 22, 2018, Canez Tout-Puissant (“Tout-Puissant”)
was convicted by a Massachusetts jury on two counts of unlawful
possession of a firearm and two counts of unlawful possession of
ammunition. Pet. 1, ECF No. 1. He then unsuccessfully appealed
in the courts of the Commonwealth. Commonwealth v. Tout-
Puissant, 96 Mass. App. Ct. 1103 (2019), review denied, 483
Mass. 1106 (2019). On January 9, 2020, Tout-Puissant filed this
petition for habeas relief on three grounds, all of which were
raised in the Massachusetts courts: (1) denial of due process
because the Commonwealth did not have to prove, on a theory of
joint-venture, that Tout-Puissant’s co-venturer lacked a firearm

license; (2) ineffective assistance of counsel for failure to
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raise the affirmative defense of license on a joint-venture
theory;! and (3) the indictment’s joint-venture charge was
improper because the Commonwealth could not identify the co-
venturer and thus could not prove lack of license. Pet. 1-10.
The first and third grounds are unavailing because lack of
license is not an element of the unlawful possession offenses
for which Tout-Puissant was convicted, even on a joint venture
theory; it is a defense that must be raised by the defendant,
which Tout-Puissant failed to do. See Tout-Puissant, 96 Mass.

App. Ct. 1103, at *1-2 (citing Commonwealth v. Humphries, 465

 

Mass. 762, 764 (2013) & Commonwealth v. Gouse, 461 Mass. 787,
802-03 (2012)). Accordingly, there is no due process violation
in the fact that the Commonwealth did not need to prove that the
co-venturer lacked a firearm license. See id.; Powell v.
Tompkins, 783 F.3d 332, 338-343 (1st Cir. 2015) (rejecting

similar argument on habeas) .?

 

1 It is not fully clear from the petition that this is an
ineffective assistance of counsel claim. In Pet.’s Mem. Supp.
Pet. (“Pet.’s Memo”), ECF No. 19, however, Tout-Puissant
clarifies that his second claim is based on his trial counsel’s
performance. Pet’s Memo 11, 19-23. To the extent that Tout-
Puissant’s second ground asserts a different argument that was
not raised in state court, the Court may not entertain it. See
Sanchez-Llamas v. Oregon, 548 U.S. 331, 350-351 (2006) (“The
general rule in federal habeas cases is that a defendant who
fails to raise a claim on direct appeal is barred from raising
the claim on collateral review.”).

2 Moreover, to the extent that Tout-Puissant objects to the
sufficiency of the evidence before the grand jury, that is not a

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Tout-Puissant’s second ground for relief fares no better.
The Massachusetts Appeals Court rejected this ineffective
assistance of counsel argument since, even if Tout-Puissant’s
trial counsel was unreasonably deficient in failing to raise the
affirmative defense of license (a point which the state court
did not decide), there was no prejudice because “[t]he
prosecution presented two theories of the case, one of which is
unaffected by the asserted claims of ineffective assistance of
counsel.” Tout-Puissant, 96 Mass. App. Ct. 1103, at *1. That
is, the jury’s general verdict may have rested on a
constructive-possession theory rather than a joint-venture
theory. Since “the defendant’s conviction was supported by
compelling evidence of constructive possession,” the
Massachusetts Appeals Court reasoned, “the outcome would remain
unchanged” even had his counsel effectively undermined the

joint-venture theory. ? Id. The Court sees no error in this

 

constitutional issue cognizable on habeas review. See Costello
v. United States, 350 U.S. 359, 363 (1956) (“An indictment
returned by a legally constituted and unbiased grand jury, like
an information drawn by the prosecutor, if valid on its face, is
enough to call for trial of the charge on the merits. The Fifth
Amendment requires nothing more”).

3 Contrary to Tout-Puissant, a general verdict is not
automatically set aside when it may have rested on an
unsupportable ground. Cf. Pet’s Memo 23. “A conviction based
on a general verdict is subject to challenge if the jury was
instructed on alternative theories of guilt and may have relied
on an invalid one,” but the “reviewing court finding such error
should ask whether the flaw in the instructions ‘had substantial

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analysis. See Weaver v. Massachusetts, 137 S. Ct. 1899, 1911
(2017) (“In the ordinary Strickland case, prejudice means ‘a

reasonable probability that, but for counsel’s unprofessional
errors, the result of the proceeding would have been

different.’” (quoting Strickland v. Washington, 466 U.S. 668,

 

694 (1984))).

This Court cannot say that the Massachusetts Appeals
Court’s decision “was contrary to, or involved an unreasonable
application of, clearly established Federal law, as determined
by the Supreme Court of the United States.” 28 U.S.C. §

2254(d) (1). Nor was it “based on an unreasonable determination
of the facts in light of the evidence presented in the State
court proceeding.” Id. § 2254(d)(2). Accordingly, the petition

for a writ of habeas corpus is DENIED.

SO ORDERED.

 
     

WILLIAM G.
DISTRICT JYDGE

 

and injurious effect or influence in determining the jury’s
verdict.’” Hedgpeth v. Pulido, 555 U.S. 57, 58 (2008) (per
curiam) (quoting Brecht v. Abrahamson, 507 U.S. 619, 623

(1993)}).

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